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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

   Civil Action No. 20-cv-02702-SKC

   KATELYN SCHILLER,

   Plaintiff,

   v.

   THE BOARD OF GOVERNORS OF THE COLORADO STATE UNIVERSITY
   SYSTEM, et al.,

   Defendants.


    RESPONSES TO PLAINTIFF’S FIRST SET OF WRITTEN DISCOVERY TO
    DEFENDANT, THE BOARD OF GOVERNORS OF THE COLORADO STATE
                       UNIVERSITY SYSTEM


          Pursuant to Rules 33, 34, and 36 of the Federal Rules of Civil Procedure and

   the Scheduling Order governing discovery in this case, the Board of Governors of

   the Colorado State University System submit the following responses to Plaintiff’s

   First Set of Written Discovery.

                         INSTRUCTIONS AND DEFINITIONS

          Defendant objects to the definitions and instructions that Plaintiff attempts

   to impose beyond the requirements contained in the Federal Rules of Civil

   Procedure. In addition, Defendant reserves the right to change, amend, or

   supplement any of the responses herein as additional facts are recalled or

   ascertained, analyses are made, legal research is completed, and contentions are




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   made. These responses are made in a good faith effort to supply as much

   information as is presently known within the Rules.

                                INTERROGATORIES

         1.    Please IDENTIFY each PERSON who prepared or assisted in the
   preparation of the responses to these interrogatories. (Do not identify anyone who
   simply typed or reproduced the responses).

     Skippere Spear,                              Jennifer H. Hunt
     Senior Assistant Attorney General            Senior Assistant Attorney General
     Ralph L. Carr Colorado Judicial Center       Ralph L. Carr Colorado Judicial Center
     1300 Broadway, 6th Floor                     1300 Broadway, 10th Floor
     Denver, CO 80203                             Denver, CO 80203
     (720) 508-6140                               (720) 508-6215

     Lauren Davison                               Jannine R. Mohr
     Assistant Attorney General                   Deputy General Counsel
     Ralph L. Carr Colorado Judicial Center       Colorado State University System
     1300 Broadway, 10th Floor                    Available through undersigned
     Denver, CO 80203                             counsel.
     (720) 508-6631

    Jason Johnson                                 David Crum
    General Counsel                               Senior Associate Athletics Director
    Colorado State University System              Colorado State University
    Available through undersigned                 Available through undersigned counsel.
    counsel.

    Rose Cordova                                  Natalie Larose
    Paralegal                                     Executive Assistant
    Colorado State University System              Colorado State University
    Available through undersigned counsel.        Available through undersigned
                                                  counsel.

    Sean Fitzpatrick                              Steve Cottingham
    Detective                                     Deputy Director of Athletics
    Colorado State University                     Colorado State University
    Police Department                             Available through undersigned counsel.
    Available through undersigned counsel.




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    Audrey Swenson,                              Sally Alexander
    Title IX Investigator                        Director
    Colorado State University                    Office of Risk Management & Insurance
    Available through undersigned                Colorado State University
    counsel.                                     Available through undersigned
                                                 counsel.

    Jason Meisner                                Brian Gilbert
    Captain                                      IT Professional
    Colorado State University                    Colorado State University
    Police Department                            Available through undersigned counsel.
    Available through undersigned counsel.

    Brian James                                  Sean Fitzpatrick
    Technician IV                                Sergeant
    Colorado State University                    Colorado State University
    Police Department                            Police Department
    Available through undersigned                Available through undersigned
    counsel.                                     counsel.

    Amy Kuehl                                    David Crum
    Records Manager                              Senior Associate Athletics Director
    Colorado State University                    Colorado State University
    Police Department                            Available through undersigned counsel.
    Available through undersigned
    counsel.

          2.    Please IDENTIFY all computer programs, databases, software or
   other electronic systems that are used to document and/or store information
   related to CSU students’ reports or complaints of SEXUAL MISCONDUCT.

         The University uses Maxient software to manage records that fall under the

   umbrella of Title IX. Additional information regarding the Maxient software is

   available at www.maxient.com. In addition, the University maintains Title IX files

   and documentation on a shared office “T” drive. The University’s Women and

   Gender Advocacy Center uses Aries and Titanium to store and manage records.




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         The CSU Police Department previously used a system called Tiburon. On

   December 7, 2020, all cases and data were converted into a system called

   Enterprise RMS from Central Square.

          3.     Please IDENTIFY all PERSONS who have accessed the
    computer programs, databases, software or other electronic systems identified in
    response to Interrogatories 1 and 2 since September 5, 2019.

         The Board objects to Interrogatory 3 as overly broad and unduly

   burdensome in that Interrogatory 3 is not limited to Plaintiff’s claims in this

   lawsuit and is therefore not reasonably calculated to lead to the discovery of

   admissible evidence. Subject to and notwithstanding these objections, with regard

   to information related to Plaintiff, to the best of CSU’s information and belief, the

   following persons have accessed the above-referenced computer programs,

   databases, software, and other electronic systems since September 5, 2019:

    Lori Bryant                                   Ashley Vigil
    Title IX Technician                           Former Lead Title IX Investigator
    Colorado State University                     Address and phone number unknown.
    Available through undersigned
    counsel.

    Audrey Swenson                                Jody Donovan
    Title IX Investigator                         Interim Title IX Coordinator
    Colorado State University                     Assistant Vice President for Student
    Available through undersigned                 Affairs and Dean of Students
    counsel.                                      Colorado State University
                                                  Available through undersigned
                                                  counsel.

    Diana Prieto                                  Sean Fitzpatrick
    Vice President for Equity, Equal              Sergeant
    Opportunity and Title IX                      Colorado State University
    Colorado State University                     Police Department
    Available through undersigned                 Available through undersigned
    counsel.                                      counsel.

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    Jess Anderson                                 Brian James
    Evidence Technician                           Evidence Manager
    Colorado State University                     Colorado State University
    Police Department                             Police Department
    Available through undersigned                 Available through undersigned
    counsel.                                      counsel.

    Amy Kuehl                                     Ginger Toomey
    Records Manager                               Former Communications Manager
    Colorado State University                     Colorado State University
    Police Department                             Police Department
    Available through undersigned                 Address Unavailable
    counsel.

    Derek Smith                                   Josh Sheeran
    Police Officer                                Police Officer
    Colorado State University                     Colorado State University
    Police Department                             Police Department
    Available through undersigned                 Available through undersigned
    counsel.                                      counsel.

    Jason Dobbins                                 Monica Rivera
    Police Officer                                Director
    Colorado State University                     Women and Gender Advocacy Center
    Police Department                             Colorado State University
    Available through undersigned counsel.        Available through undersigned counsel.

    Courtney Kavanagh
    Victim Advocate and Educator
    Women and Gender Advocacy Center
    Colorado State University
    Available through undersigned counsel.

           4.     Please IDENTIFY all PERSONS with decision-making authority
    about whether to preserve the video footage that captured the LOGE BOX or any
    of the activities that occurred inside the LOGE BOX at the time of the
    INCIDENTS.

         The Board objects to Interrogatory 4 to the extent it implies that any video

   footage specifically captured activities occurring inside the loge box. The Board

   further objects to this Interrogatory to the extent it is premised on the faulty

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   presumption that a decision was made regarding whether to preserve video footage

   recorded on September 7, 2019, September 21, 2019, or October 5, 2019. Subject to

   these objections, the University states that no decision was made whether to retain

   the video at issue, as video footage was retained for the pertinent retention period

   in accordance with applicable policy.

           5.    Please IDENTIFY all computer programs, databases, software or
    other electronic systems that are used to document and/or store information
    captured on video on and around the CSU campus, specifically including the
    CSU football stadium and its loge boxes.

         The Board objects to Interrogatory 5 as overly broad to the extent it seeks

   information unrelated to the information captured on video in and around Canvas

   Stadium, which is the subject of this lawsuit. Moreover, disclosing information

   related to CSU’s broader campus security systems that are unrelated to Canvas

   Stadium may unnecessarily compromise CSU’s campus security. Subject to and

   without waiving these objections, the video software used to store surveillance

   video footage from Canvas Stadium is Qognify Ocularis.

          6.    Please describe YOUR video retention policy for video footage
    captured on and around the CSU campus, specifically including the CSU football
    stadium and its loge boxes. In describing such policy, please include the following:

                a.    the amount of time that CSU video footage is retained before it
                      is deleted or otherwise written over;
                b.    the types of activities, incidents, events, or exceptions that
                      must occur to preserve video footage and thus prevent it from
                      being deleted or otherwise written over; and
                c.    the way in which CSU video footage is retained and
                      preserved, including without limitation, the format in which it
                      is retained, the location where it is stored, and the manner in
                      which it is identified.




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         A copy of the University Electronic Surveillance Systems Policy is produced

   herewith. Pursuant to the Policy, video footage is stored by digital means for a

   minimum of 14 days, or such longer period as may be determined by the

   University Security Technology Committee. Video footage may be preserved when

   the University receives a request, demand, subpoena, court order, or any other

   type of request for the disclosure, release or use of video footage.

         Video is stored on hyperconverged storage, meaning it is spread out across

   multiple disk storage units; all video storage is in CSU’s secure main server room

   in the Engineering building to which access is severely limited. Access to the video

   system for exporting video is also limited to the CSU Police Department and Brian

   Gilbert from CSU’s IT Division. Video is identified by camera name in the system.

         7.    Please IDENTIFY the PERSON(S) responsible for retaining and
   preserving CSU video footage.

         The Board states Brian Gilbert, identified in Interrogatory 1, is responsible

   for retaining and preserving surveillance video footage taken on CSU campus.

           8.    Please IDENTIFY or otherwise describe the location of any
    surveillance camera(s) that would have captured and recorded video of activities
    that occurred inside the LOGE BOX on the dates of the INCIDENTS.

         There are no surveillance cameras that would have captured and recorded

   detailed videos of activities that occurred inside the loge box in September and

   October of 2019. There are no cameras in the loge boxes in the stadium. There are

   cameras in the NW and SW hallways plus the elevator lobbies on levels 500 and

   600, but none of those cameras can “see” into the boxes.




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          9.     Please state whether the surveillance cameras identified above are
    currently in the same location as they were at the time of the INCIDENTS.

         The cameras referenced in Interrogatory 8 are in the same location as they

   were on September 7 and 21, 2019 and October 5, 2019; they have not moved.

         10.    If video was recorded of activities inside the LOGE BOX on the
   dates of the INCIDENTS, please state the date(s) on which such video was deleted
   or otherwise overwritten.

         There are no surveillance cameras that would have captured and recorded

   detailed videos of activities that occurred inside the loge box in September and

   October of 2019.

          11.      Please IDENTIFY all PERSONS who have investigated the
    Plaintiff’s claims in this LAWSUIT on behalf of CSU.

         CSU objects to this question as it is vague and overly broad. Specifically, the

   term “investigated” is not defined. Subject to, and without waiving this objection,

   CSU identifies the following individuals:

     Skippere Spear,                               Jennifer H. Hunt
     Senior Assistant Attorney General             Senior Assistant Attorney General
     Ralph L. Carr Colorado Judicial Center        Ralph L. Carr Colorado Judicial Center
     1300 Broadway, 6th Floor                      1300 Broadway, 10th Floor
     Denver, CO 80203                              Denver, CO 80203
     (720) 508-6140                                (720) 508-6215

     Lauren Davison                                Jannine R. Mohr
     Assistant Attorney General                    Deputy General Counsel
     Ralph L. Carr Colorado Judicial Center        Colorado State University System
     1300 Broadway, 10th Floor                     Available through undersigned
     Denver, CO 80203                              counsel.
     (720) 508-6631




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    Jason Johnson                                David Crum
    General Counsel                              Senior Associate Athletics Director
    Colorado State University System             Colorado State University
    Available through undersigned                Available through undersigned counsel.
    counsel.

    Jessica Salazar                              Laurie Dean
    Former Associate Legal Counsel               Former Associate Legal Counsel
    Colorado State University System             Colorado State University System
    Address Unavailable                          Address and phone number
                                                 unknown.

    Jay McMillan                                 Steve Cottingham
    Assistant Athletics Director                 Deputy Director of Athletics
    Colorado State University                    Colorado State University
    Available through undersigned counsel.       Available through undersigned counsel.

    Sean Fitzpatrick                             Audrey Swenson,
    Sergeant                                     CSU Title IX Investigator
    Colorado State University                    Colorado State University
    Police Department                            Available through undersigned
    Available through undersigned                counsel.
    counsel.

          12.    Please IDENTIFY all PERSONS with knowledge and ability to
    access information about contributions and/or gifting to CSU.

         The Board objects to Interrogatory 12 as vague, overly broad, unduly

   burdensome, and seeking information that is not relevant to any party’s claim or

   defense and that is disproportional to the needs of the case.

           13.    Please IDENTIFY each incident in which a CSU student has
    reported SEXUAL MISCONDUCT that allegedly occurred on the CSU campus
    and/or involved PERSONS associated with CSU from January 1, 2015, to the
    present. This interrogatory includes all reported incidents of which YOU received
    notice, including internal reports, claims and reports made to external agencies,
    such as the EEOC and/or CCRD, and state and federal lawsuits.

         The Board objects to Interrogatory 13 as vague, overly broad, unduly

   burdensome, seeking information that is not relevant to any party’s claim or



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   defense and that is disproportional to the needs of the case. The Board further

   objects to this Interrogatory because it seeks information protected by federal and

   state law.

           14.   Please IDENTIFY all training that is required of CSU athletic
   staff, supervisors, managers, and officers with regard to SEXUAL
   MISCONDUCT, specifically referencing the written materials, courses, and
   compliance programs used with any such training.

         All CSU employees are required to take an online sexual harassment

   awareness module by EverFi. Athletic staff are also required to complete an online

   training related to the Clery Act. Additionally, all staff and student-athletes have

   participated in in-person trainings by campus partners such as the Office of Equal

   Opportunity (OEO) and the Women and Gender Advocacy Center (WGAC). These

   presentations have included PowerPoint presentations, and handouts.

          15.    Please IDENTIFY all actions taken by CSU to ensure that vendors at
   CSU sporting events comply with federal and state laws and CSU policies,
   specifically including laws and policies concerning anti-discrimination and anti-
   harassment.

         The Board objects to Interrogatory 15 as vague, overly broad, unduly

   burdensome, and seeking information that is not relevant to any party’s claim or

   defense and that is disproportional to the needs of the case. With regard to anti-

   discrimination and anti-harassment, CSU’s Title IX policy states that “Employees

   and agents of contractors, visitors to the University, donors, alumni and others over

   whom the University does not have authority to take corrective or disciplinary

   action are also expected to comply with this policy when doing business with the

   University. The University may, among other actions, terminate its contract and



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   relationship with the individual or entity, exclude such persons from campus,

   and/or refer the matter to law enforcement.”

         16.   Please IDENTIFY every PERSON who has been interviewed
   regarding the INCIDENTS by any agent or representative of CSU.

      Katelyn Schiller                           Karla Lewis
      Address and phone number                   Address and phone number
      unknown.                                   unknown.

      Doug Max                                   Marc Recht
      Former Event Management                    Address and phone number
      Address Unknown and phone                  unknown.
      number unknown.

      Ryun Williams                              Michael Best
      Women’s Basketball Coach                   Address and phone number
      Colorado State University                  unknown.
      Available through undersigned
      counsel.

      Scott Schell                               Roommate of Katelyn Schiller
      Address and phone number                   Address and phone number
      unknown.                                   unknown.

      Gretchen Tribken                           Anthony Slaughter
      Address and phone number                   Address and phone number
      unknown.                                   unknown.

      David Crum                                 Steve Cottingham
      Senior Associate Athletics Director        Deputy Director of Athletics
      Colorado State University                  Colorado State University
      Available through undersigned              Available through undersigned
      counsel.                                   counsel.

      Cody Clem                                  Blake Phillips
      Address and phone number                   Address and phone number
      unknown.                                   unknown.

      Savionne Gudiel                            Mr. Kincaid,
      Address and phone number                   Address and phone number
      unknown.                                   unknown.



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         17.     Please IDENTIFY each PERSON that YOU believe is responsible,
   in whole or in part, for the INCIDENTS and the corresponding injuries claimed
   by Plaintiff in this LAWSUIT.

          The Board objects to Interrogatory 17 as it seeks a legal conclusion or an

   opinion about hypothetical facts. The Board lacks sufficient information to

   determine whether the INCIDENTS occurred or whether Plaintiff has suffered

   any injuries.

          18.   Please IDENTIFY the date on which YOU first became aware of any
   one or more of the INCIDENTS that are the subject of this LAWSUIT.

          The Board objects to Interrogatory 18 as based on hypothetical facts. Based

   on the information available to it, the Board states as follows:

          On September 21, 2019, Blake Phillips met in-person with David Crum and

   Jay McMillan and informed them that a server had complained that a guest in the

   LOGE BOX was being “handsy” during the football game of the same date. Crum

   and McMillan went to the LOGE BOX and discussed the issue with Michael Best.

   Best denied knowledge of any person being handsy, but further stated that one of

   his guests was very intoxicated and would never be invited back to the LOGE

   BOX.

          During the October 5, 2019 football game, Crum made multiple visits to the

   LOGE BOX to check in. Crum did not witness any inappropriate behavior during

   these visits. Crum and Steven Cottingham also asked the patrons in the loge boxes

   to the north and south if they had witnessed any inappropriate behavior. Those

   patrons denied witnessing any such behavior.




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         On October 9, 2019, Karla Lewis sent an email to Crum, McMillin, and

   Steven Cottingham informing them that the same server had complained that a

   guest in the LOGE BOX “was acting inappropriately” during the October 5, 2019,

   football game and that the server would be moved out of the LOGE BOX for future

   games. Cottingham contacted Jennifer Mayhew of the University’s Office of Equal

   Opportunity to discuss the situation and determine next steps. Because the matter

   did not involve a University employee, the matter did not fall within the

   jurisdiction of the Office of Equal Opportunity.

         On October 15, 2019, Lewis called Cottingham on the telephone and

   informed him that the alleged inappropriate behavior had also reportedly occurred

   during the September 7, 2019 football game and that one of the persons who were

   accused of acting inappropriately was Michael Best.

         On October 16, 2019, Lewis sent an email to Cottingham that contained

   information identifying the server as Schiller, a University student. This was the

   first notification provided to the University that the complainant was a student.

         On October 17, 2019, Cottingham and Crum interviewed Best regarding the

   allegations. Best denied the allegations.

         On October 23, 2019, Cottingham met with Schiller to hear her allegations

   directly. It was at this meeting that Schiller first informed Cottingham that an

   unidentified individual had forcibly grabbed the back of her neck, put his hands in

   her pockets, and caressed her hip.




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         On October 24, 2019, Cottingham requested any security video of the LOGE

   BOX from Mark Paquette.

         On October 29, 2019, Joe Parker and Cottingham decided to move Best to an

   auxiliary radio suite on the sixth level of Canvas Stadium for the remainder of the

   football season. The auxiliary radio suite is not provided with a server. In addition,

   the University voided Best’s tickets to the LOGE BOX, instructed Best that he

   could not be on the same level in the stadium as the LOGE BOX, and informed

   Landmark Security that Best was not permitted to be on that level. The intent was

   to allow Schiller to continue working as a loge server, if she so chose, without

   having to interact with Best or any of his guests.

         On October 30, 2019, Cottingham met with Schiller to inform her of the

   decision to move Best. Schiller informed Cottingham that this resolution “feels

   good.” Cottingham also informed Schiller that the University had resources

   available to her and that she could file a police report.

         On October 31, 2019, Schiller sent an email to Crum and Cottingham

   alleging—for the first time—that “Mike Wargin” had “sexually assaulted” her

   during the three football games and that she was subjected to “actions of sexual

   harassment.” Cottingham immediately forwarded the email to the University’s

   Student Affairs Office, Title IX Office, and Police Department.

         On November 1, 2019, Detective Sean Fitzpatrick of the University Police

   Department began a criminal investigation based on Schiller’s October 31 email.

   The Police Department interviewed Schiller, Best, Schell, Schiller’s roomate,



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   Gretchen Tribken, Cottingham, Karla Lewis, and Anthony Slaughter. The

   Department issued a report and referred the matter to the Larimer County

   District Attorney. The full involvement of the University Police Department is

   contained in the report previously disclosed.

         On November 5, 2019, Audrey Swenson of the University’s Title IX Office

   began an investigation based on Schiller’s email. Swenson also referred Schiller to

   Courtney Kavanagh of the University Women and Gender Advocacy Center to act

   as Schiller’s advocate. Swenson interviewed Crum, Cottingham, Doug Max, Cody

   Clem, Blake Phillips, and Savionne Gudiel. Swenson also attempted to interview

   Schiller, Best, Tribken, and Lewis.

         Swenson sent regular emails to Schiller updating her on the Title IX and

   criminal investigations, including on November 13, 2019, November 20, 2019,

   November 27, 2019, December 4, 2019, December 11, 2019, December 18, 2019,

   March 12, 2020, April 3, 2020, April 10, 2020, April 20, 2020, April 27, 2020, May

   4, 2020, May 12, 2020, May 18, 2020, May 29, 2020, and June 8, 2020. The Title IX

   Office prepared a report which was previously disclosed.

        19.    Please IDENTIFY the representative(s) of CSU who first became
   aware of any one or more of the INCIDENTS that are the subject of this
   LAWSUIT.

       David Crum                                  Jay McMillan
       Senior Associate Athletics Director         Assistant Athletics Director
       Colorado State University                   Colorado State University
       Available through undersigned               Available through undersigned
       counsel.                                    counsel.




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       Steve Cottingham                           Joe Parker
       Deputy Director of Athletics               Athletics Director
       Colorado State University                  Colorado State University
       Available through undersigned              Available through undersigned
       counsel.                                   counsel.

         20.    Please IDENTIFY how the INCIDENTS that are the subject of
   this LAWSUIT were first communicated to the previously identified
   representative(s) of CSU (i.e., via telephone call, email, in-person meeting, etc.).

         See response to Interrogatory 18, above.

          21.  Please IDENTIFY the PERSONS in charge of CSU’s investigation
   of the INCIDENTS that are the subject of this LAWSUIT.

         The Board objects to Interrogatory 21 as based on hypothetical facts. The

   Board lacks sufficient information to determine whether the INCIDENTS occurred.

   Based on the facts available to it, the Board incorporates its response to

   Interrogatory 18, above.

         22.     Please describe all efforts YOU took to protect and/or prevent
   Plaintiff from being subjected to further SEXUAL MISCONDUCT after Plaintiff
   reported it.

         The Board objects to Interrogatory 22 as based on hypothetical facts. Subject

   to this objection, please see the response to Interrogatory 18.

          23.    Please IDENTIFY the guest in the LOGE BOX who left the stadium
   on September 21, 2019, and who would not be allowed to return to the stadium
   as set forth in paragraph 19 of YOUR Answer to the Fourth Amended
   Complaint.

         The Board states that it does not know the identity of the guest who left the

   LOGE BOX in Canvas Stadium on September 21, 2019.

          24.    Please IDENTIFY the CSU Athletics Department employee who
   responded to the complaint of inappropriate fan behavior on September 21, 2019,
   as set forth in paragraph 19 of YOUR Answer to the Fourth Amended
   Complaint.

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           David Crum, Senior Associate Athletics Director, Colorado State University.

   Mr. Crum is available through undersigned counsel.

                   REQUEST FOR PRODUCTION OF DOCUMENTS

         1.     Please produce any surveillance video footage of activities that
   occurred inside the LOGE BOX on the dates of the INCIDENTS.

           Defendant does not possess any surveillance video footage of activities that

   occurred inside the LOGE BOX on the dates of the alleged INCIDENTS.

          2.      If there is no such video footage in existence, please produce any
   DOCUMENTS that show or tend to show that such video footage previously
   existed, including the location of the video camera that would have recorded video of
   the LOGE BOX on the dates of the INCIDENTS, and the date on which the video
   footage was deleted, overwritten, or otherwise lost.

           There are no surveillance cameras that would have captured and recorded

   videos of activities that occurred inside the loge box in September and October of

   2019.

         3.      Please produce any DOCUMENTS, including but not limited to
   photographs, architectural plans, and/or blueprints, that show the location of the
   video camera(s), that would have recorded video inside the LOGE BOX on the
   dates of the INCIDENTS.

           There are no surveillance cameras that would have recorded video inside the

   LOGE BOX on the dates of the alleged INCIDENTS.

         4.      Please produce any DOCUMENTS of communications regarding the
   existence or availability of, retention, non-retention, and/or deletion of any video
   footage taken of activities occurring in the LOGE BOX on the dates of the
   INCIDENTS.

           Please see response to Request for Production 9.




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          5.      Please produce all DOCUMENTS showing YOUR video retention
   policy for video footage captured on and around the CSU campus, specifically
   including the CSU football stadium and its loge boxes.

         A copy of the University Electronic Surveillance Systems Policy is produced

   herewith. CSU723-CSU733.

         6.      Please produce any insurance or indemnification policies that
   provide or may provide insurance coverage for the acts and/or omissions of CSU as
   alleged in the LAWSUIT.

         Copies of the University’s applicable insurance policies are produced

   herewith. CSU734-CSU927.

          7.     Please produce all DOCUMENTS reviewed by YOU during YOUR
   investigation of the allegations in the LAWSUIT.

         The Board objects to Request for Production 7 as seeking information

   protected by the attorney-client privilege and work product doctrine. Such

   documents will not be produced. In accordance with the applicable law, the Board

   will appropriately identify documents pre-dating the service of the preservation

   notice issued by Schiller’s attorneys on December 11, 2019, that are withheld from

   production on the grounds of the referenced privileges. Subject to this objection, the

   Board produces documents bates labeled CSU928-CSU1139 herewith.

         8.    Please produce all DOCUMENTS of communications between YOU
   and any party to this LAWSUIT, including communications from the parties’
   agents, employees, representatives, and attorneys, that relate to the allegations and
   claims made in this LAWSUIT.

         Please see response to Request for Production 9.

         9.     Please produce all DOCUMENTS of communications between
   YOU and any other PERSON, including communications from the PERSON’S
   agents, employees, representatives, and attorneys, that relate to the allegations and
   claims made in this LAWSUIT.

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         The Board objects to Requests for Production 4, 8, and 9 as overly broad and

   seeking information not relevant to any party’s claim or defense and disproportional

   to the needs of this case in that the Requests seek communications that occurred

   after the service of the preservation notice issued by Schiller’s attorneys on

   December 11, 2019. The Board further objects to Requests for Production 4, 8, and 9

   because these Requests seek information protected by the attorney-client privilege

   and work product doctrine. Such documents will not be produced. In accordance

   with the applicable law, the Board will appropriately identify documents pre-dating

   the service of the preservation notice issued by Schiller’s attorneys on December 11,

   2019, that are withheld from production on the grounds of the referenced privileges.

         Subject to these objections, the Board produces non-privileged documents

   responsive to Requests for Production 4, 8, and 9 herewith. Because each Request

   deals with communications, several of the documents are response to one or more

   Requests and, therefore, are produced together at bates label CSU328-CSU722.

         10.     Please produce all DOCUMENTS showing the amount(s) or value(s)
   and date(s) of any contributions or gifts made to CSU, including any of its
   departments, divisions, or programs, by or on behalf of Defendant Best or any
   member of his family from January 1, 2011 to the present time.

         Responsive documents are produced herewith. CSU1140-CSU1147.

         11.     Please produce all DOCUMENTS showing the amount(s) or value(s)
   and date(s) of any contributions or gifts made to CSU, including any of its
   departments, divisions, or programs, by or on behalf of Defendant Schell or any
   member of his family from January 1, 2011 to the present time.

         Responsive documents are produced herewith. CSU1148.




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         12.   For each incident identified in response to Interrogatory No. 13,
   please produce all DOCUMENTS showing the specific complaints made, YOUR
   response thereto, and any resolution.

         The Board objects to RFP 12 as vague, overly broad, unduly burdensome,

   seeking information that is not relevant to any party’s claim or defense and that is

   disproportional to the needs of the case. The Board further objects to this RFP

   because it seeks protected information that the Board is prohibited from producing

   by federal law.

         13.    Please produce all contracts that you have entered into with
   Defendant Ovations Food Services, LP (d/b/a Spectra Food Services and
   Hospitality) from January 1, 2015 to the present.

         Please see CSU035-63, previously produced.

          14.   Please produce, pursuant to appropriate release, all DOCUMENTS
   related to an internal CSU complaint made by CSU student, Ida Donohue, in
   2019 concerning inappropriate conduct and/or harassment by another CSU
   student athlete.

         The Board objects to RFP 14 because it seeks information that is not relevant

   to any party’s claim or defense and that is disproportional to the needs of the case.

   The Board further objects to this RFP because it seeks protected information that

   the Board is prohibited from producing by federal law.


                             REQUEST FOR INSPECTION

          1.     Pursuant to F.R.C.P. 34(a)(2), please permit entry into the CSU
   football stadium at a mutually convenient date and time within 30-days of the
   date of these requests to view, inspect, measure, and photograph the following:

                 a.     the LOGE BOX and immediately surrounding areas; and




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               b.    the auxiliary suite, as identified in paragraph 45 of CSU’s
   Answer to the Fourth Amended Complaint, where Defendant Best and his
   family were moved or re-assigned following the INCIDENTS.

         The Board agrees to permit such inspection at a mutually agreeable time

   that can be arranged through the undersigned counsel. Generally, Monday

   through Thursday from 2:00 to 4:00 work best, but the Board can make other times

   work if necessary.

                              REQUESTS FOR ADMISSION

         1.    Please admit that video of activities occurring inside the LOGE BOX
   on the dates of the INCIDENTS was recorded.

         Denied.

         2.     Please admit that YOU received notice of the INCIDENTS before
   the recorded video of the LOGE BOX was deleted, overwritten, or otherwise lost.

         Denied.

        3.     Please admit that Defendant Best and his wife, Susie Wargin, are
   alumni of CSU.

         Admitted.

        4.   Please admit that Defendant Best and/or his wife, Susie Wargin,
   made monetary contributions to CSU at various times before the INCIDENTS.

         Admitted.

   DATED THIS 14TH DAY OF OCTOBER, 2021.

       AS TO RESPONSES:                        AS TO OBJECTIONS:

      ________________________                 PHILIP J. WEISER
      Steve Cottingham                         Attorney General
      Deputy Director of Athletics
      Colorado State University                /s/ Skip Spear___________________
                                               Skippere Spear, No. 32601*
                                               Jennifer Hunt, No. 29964*

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                                           ATTORNEYS FOR DEFENDANT
                                           COLORADO STATE UNIVERSITY
                                           *counsel of record




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                               CERTIFICATE OF SERVICE

          I certify that I served the foregoing RESPONSES TO PLAINTIFF’S FIRST

   SET OF WRITTEN DISCOVERY TO DEFENDANT, THE BOARD OF

   GOVERNORS OF THE COLORADO STATE UNIVERSITY SYSTEM upon all

   parties herein by email, this 14th day of October, 2021 addressed as follows:

   Benjamin DeGolia                                  Jeffrey S. Pagliuca
   Matthew Cron                                      Haddon, Morgan and Foreman, P.C.
   Ciara Anderson                                    150 East 10th Avenue
   Rathod Mohamedbhai                                Denver, CO 80203
   2701 Lawrence Street, Suite 100                   Attorney for Defendant Schell
   Denver, CO 80205
   Attorneys for Plaintiff                           Craig A. Silverman
                                                     Springer & Steinberg, P.C.
   Jacqueline R. Guesno                              1600 Broadway, Suite 1200
   Juan C. Obregon                                   Denver, CO 80202
   Jackson Lewis P.C.                                Attorney for Defendant Best
   950 17th Street, Suite 2600
   Denver, CO 80202
   Attorneys for Defendant Spectra

                                                     /s/ Carmen Van Pelt




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